              Case 5:12-cr-00359-OLG Document 449 Filed 12/19/12 Page 1 of 3




                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF TEMS
                                        SAN ANTONIO DIVISION
     UNITED STATES OF AMERICA
          PLAINTIFF                                    §
                                                      §
    VS.                                               §
                                                      §
                                                                      SA-12-CR-359-08-OG
    JOSE "JOEY" RICARTE                               §
                                                      §
         DEFENDANT
                                                      §


                             ^SffENCJNGjyiEMgRANp^
        COMES NOW the Defendant, JOSE "JOEY"
                                                    RICARTE, and files this sentencing
   memorandum in support of 18 U.S.C. 3553 factors.


                                                                     Respectfully submitted:



                                                                   Adam Kobs
                                                                   310 S. St. Mary's, Ste.1920
                                                                   San Antonio, TX. 78205
                                                                   Telephone 210.223.4177
                                                                   Facsimile 210.223.4188
                                                                   State Bar No. 24000991

                                                                   Attorney for Defendant



                                       CF^TJRCATT^OFSERyif^




office, and ,o V,v,an Freisennahn a, the United States Probation Offioer, offioe.


                                                                    <>2    ^V
                                                                 Adam Kobs
Adam   Kobs   soF
                po= r»sa g a   3   of   2 0 1 J3. 1 2 . 1 0 _ _   _   2S:39:04(OMT)
                                                                                             1210S7986SS   Rrom:   Eva   RComor.

                    Case 5:12-cr-00359-OLG Document 449 Filed 12/19/12 Page 2 of 3



       Your Honor,




       My name Is Dolores Ricarte the mother of Jose RicarteJr #99634280 I am writing this letter hoping to
       find you in good spirits and health and hoping the release of my son for the holidays. He is my only son
       that I have he was my helper and second hand for everything that his father and myself needed help
       with. He also was the one who did work for my business since his incarceration my business has lost
       customers due to him not being able to do my installation of draperies. He is a good person what he did
       was wrong and he is paying for his wrong doings. My husband and I are in our late 50's and have gotten
       ill since he has been gone due to us having to do work at home on our own we own land out in the
       country and now that it is just me and my husband the yard work and car maintenance has become
       overwhelming for us. These holidays with out my son have been stressful and sad. Thank you for giving
       me this time to express my feelings and concerns for my son.




       Thank you

       Mr&MrsRicarte
To :   Adam      Kobs     Page    2     of     3     2 0 1 *2 1. 1
                                                                 12.10        2 ,n. , Q . n .           , n ^ . - Zr ^2
                                                                         "*                     -r-TW                     39   01   <<3fvlX)   1210S7S8SSS


                          Case 5:12-cr-00359-OLG Document 449 Filed 12/19/12 Page 3 of 3




              Your Honor,




              My name is Eva Ramon sister of Jose RicarteJr # 99634280 I am writing this letter hoping to find you in
              good spirits and health and hoping the release of my son for the holidays. He is my only brother and we
              have 1 other sister. My sister and I are single moms with teenage kids myself I have 1 daughter who just
              turned 20 and misses her uncle very much my son is 15 and his also misses his uncle my brother was
              there one man to look up to when they needed that father part in there life's since my brothers
              incarceration my son continues to get in trouble in school and does not wish to talk to me about it he
              bottles it up till he gets to see his uncle on Monday for visitations. My bothers is the only one that does
              my house maintenance and vehicle work for me here I sit with my truck acting up mechanic problems
              only because I can not afford to pay for this maintenance my brother was my handy man for every thing
              I could not do. He was the man of my house he does live with me since his absents my life has been very
              stress ful with my son and handy work that can not be done in my home that I will have to move with
              friends of the family to help my ends meet. He was also the one that would always be there for my other
              sister since she Is also a single mom with 3 boys 2 teenagers and one almost getting there my brother
              was the one who could control our boys. These holidays with out my brother have been stressful and
              sad. Thank you for giving me this time to express my feelings and concerns for my brother.




              Thank you

              Eva Ramon
